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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION

 

VIRGINIA OFFICE FOR PROTECTION
AND ADVOCACY,

Plaintiff, : Case No. 3:07CV734(REP)
Vv.
JAMES W. STEWART III, in his official
Capacity as Commissioner, Department
of Behavioral Health and Developmental
Services, of the Commonwealth of
Virginia, DALE WOODS in his official
capacity as Director, Central Virginia
Training Center and VICKY Y.
MONTGOMERY, in her official capacity
as Director, Central State Hospital,
Defendants.

PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
AND MEMORANDUM IN SUPPORT

Plaintiff, the Virginia Office for Protection and Advocacy (VOPA) submits this
motion for summary judgment and memorandum in support pursuant to Rule 56 of the
Federal Rules of Civil Procedure.

I. LISTING OF UNDISPUTED FACTS PURSUANT TO LOCAL RULE 56(B)

1. The Protection and Advocacy for Individuals with Mental Illness Act of 1986
(PAIMI) 42 U.S.C. §§ 10801-10851 helps States to establish and operate
protection and advocacy systems to protect the rights of, and advocate for, the
mentally ill. The Developmental Disability Assistance and Bill of Rights Act
(DD Act), 42 U.S.C. §§ 15001-15045, performs a similar function for the

developmentally disabled. Memorandum in Support of Motion to Dismiss, p. 3.
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2. WOPA is an independent state agency that serves as the Commonwealth’s

protection and advocacy agency. Memorandum in Support of Motion to Dismiss,

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3. Defendant James Stewart, is the Commissioner, DMHMRSAS, The Central
Office, DBHDS, is located in Richmond, Virginia. The Commissioner, DBHDS,
is responsible for the supervision and management of the Department and its state
facilities. Code of Va. § 37.2-304. Complaint, J 10; Answer and Affirmative

Defenses, { 10.

4. Defendant Dale Woods is the Director, CVTC. CVTC is a DBHDS-operated
institution for persons with mental retardation located in Amherst County,
Virginia. The Director, CVTC, is responsible for “the safe, efficient and effective
operation” of the facility and for compliance with “all applicable federal and state
statutes, regulations, policies and agreements.” Code of Va. § 37.2-707.

Complaint, J 11; Answer and Affirmative Defenses, 11.

5. Defendant Vicky Montgomery is the Director, CSH. CSH is a DBHDS-operated
institution for persons with mental illness located in Dinwiddie County, Virginia.
The Director, CSH, is responsible for “the safe, efficient and effective operation”
of the facility and for compliance with “all applicable federal and state statutes,
regulations, policies and agreements.” Code of Va. § 37.2-707. Complaint, { 12;

Answer and Affirmative Defenses, 12.

6. Defendants refuse to disclose the peer review materials requested by plaintiff.
Response to the Motion for a Preliminary Injunction, p. 2; Memorandum in

Support of Motion to Dismiss, p. 15.
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7, On or about October 18, 2006, an individual with mental retardation and mental
illness hereinafter referred to as “Resident A’’, died while a resident of CVTC.
Resident A had had a decades-long documented history at CVTC of ingesting
non-edible items. During October 2006, Resident A began to show symptoms of
bowel obstruction. He was transported to the hospital. On October 10, 2006, An
exploratory laparotomy was performed and two latex gloves were discovered in
his intestines. The gloves were surgically removed. Resident A died on October

18, 2006. Complaint, § 13; Answer and Affirmative Defenses, § 13.

8. On November 16, 2006, VOPA requested, in writing, that CVTC provide VOPA
with all records related to Resident A’s death including any risk management
review, baseline analysis review, or mortality review. Complaint, J 15; Answer

and Affirmative Defenses, 7 15.

9. On June 5, 2007, VOPA renewed its request, in writing, for the report of the

baseline analysis review. Complaint, 4 16; Answer and Affirmative Defenses, §]

16.

10. On July 12, 2007, VOPA renewed its request in writing for the baseline analysis
review and risk management review. Complaint, § 17; Answer and Affirmative

Defenses, { 17.

11. The baseline analysis review and the risk management review regarding the
incident involving Resident A have not been provided to VOPA. Complaint, §

18; Answer and Affirmative Defenses, 4 18.
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On or about January 11, 2007, an individual with mental retardation hereinafter
referred to as “Resident B” was assaulted at CVTC by another resident. Resident
B was observed by CVTC staff running from Resident B’s room covered in
blood. One staff member went to Resident B’s room where she found multiple
pieces of human ear tissue and a large amount of blood on the floor. Complaint, J

19; Answer and Affirmative Defenses, § 19.

On June 8, 2007, VOPA requested, in writing, records regarding the injuries to
Resident B including any risk management review or baseline analysis review
conducted regarding the incident. Complaint, § 21; Answer and Affirmative

Defenses, {] 21.

On July 12, 2007, VOPA renewed its request, in writing, for the baseline analysis
review and risk management review. Complaint, 22; Answer and Affirmative

Defenses, {] 22.

The risk management review regarding the incident involving Resident B has not
been provided to VOPA. Complaint, 4 23; Answer and Affirmative Defenses,
page § 23.

On, or about March 22, 2007, an individual with mental illness hereinafter
referred to as “Resident C” died while a patient at CSH. Resident C had been
held in some form of restraints for a period of approximately 33 hours before
being released. About thirty minutes after Resident C was released from
restraints, several CSH staff entered Resident C’s bedroom to attempt to place
Resident C into restraints. During the restraint incident, Resident C complained

of being unable to breathe. Attempts to revive Resident C failed and Resident C
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was transported to a community hospital and was pronounced dead. Complaint, J

25; Answer and Affirmative Defenses, J 25.

On, May 31, 2007, VOPA requested in writing records relating to the death of
Resident C, including the root cause analysis, mortality review, and risk

management analysis. Complaint, {| 27; Answer and Affirmative Defenses, 27.

On or about August 13, 2007, counsel for Defendants informed VOPA that its
requests for records was denied by the Commissioner, DMHMRSAS, on the basis
of the peer review privilege. Complaint, J 28; Answer and Affirmative Defenses,

q 28.

. On August 29, 2007, VOPA renewed its request, in writing, for the mortality

review, root cause analysis, and risk management review regarding Resident C.

Complaint, { 29; Answer and Affirmative Defenses, { 29.

The root cause analysis and the mortality review regarding the incident involving
Resident C have not been provided to VOPA. Complaint, § 30; Answer and

Affirmative Defenses, J 30.

Il. ARGUMENT

A.

Summary Judgment Standard

 

Summary Judgment is appropriate in cases where “there is no genuine issue as to
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any material fact, and that the moving party is entitled to a judgment as a matter of law.”

Fed R.Civ.P 56(c); Celotex Corp v. Catrett, 477 U.S. 317, 323 (1986). A “material fact”

is one

“that might affect the outcome of the suit under the governing law.” Anderson y.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A disputed material fact presents a
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“genuine issue” only “if the evidence is such that a reasonable jury could return a verdict

for the non-moving party.” Id.

B. P&A System Access Authority
The issue in this case is the reconciliation of the federal statutes providing VOPA
the authority to access records, fnsinding peer review records, during the course of its
investigation of abuse and neglect and the Virginia statute pertaining to peer review
materials. VOPA’s authority comes from the statutory scheme that Congress created in
enacting the DD and PAIMI Acts.
The DD and PAIMI Acts require that protection and advocacy systems have
access to facilities and to records of individuals with disabilities. See 42 U.S.C. §§ 15043,
10805(a)(4) and 10806. Courts have consistently held that the DD and PAIMI Acts
require states to permit the P&A agency to operate effectively, and with broad discretion
and independence in gaining access to facilities and records. The court in Advocacy
System, Inc. v. Cotten expounded upon this obligation as follows:
The Act not only describes the range of services to be provided by the
protection and advocacy systems, it also states that the systems must
have the authority to perform these services. The state cannot satisfy
the requirements of the [DD Act] by establishing a protection and

advocacy system which has this authority in theory, but then taking
action which prevents the system from exercising that authority.

929 F.2d 1054, 1058 (5™ Cir. 1991) (emphasis in original). As the court noted in
Alabama Disabilities Advocacy Program v. Tarwater Developmental Ctr., any other
reading “would attribute to Congress an intent to pass an ineffective law.” 894 F. Supp.
424, 429 (M.D. Al. 1995).

The PAIMI Act provides that a P&A system “shall” have access to facilities that

provide care and treatment for individuals with developmental disabilities and to “all”
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records of those individuals. 42 U.S.C. §§ 10805, 10806. The regulations to the PAIMI
Act further define “records” to include:

(2) Reports prepared by an agency charged with
investigating abuse neglect, or injury occurring at a facility
rendering care or treatment, or by or for the facility itself,
that describe any or all of the following:
(i) Abuse, neglect, or injury occurring at the facility;
(ii) The steps taken to investigate the incidents;
(iii) Reports and records, including personnel records,
prepared or maintained by the facility, in connection with
such reports of incidents; or
(iv) Supporting information that was relied upon in creating
a report, including all information and records used or
reviewed in preparing reports of abuse, neglect or injury
such as records which describe persons who were
interviewed, physical and documentary evidence that was
reviewed, and the related investigative findings.

42 C.F.R. §51.41

The DD Acct is the counterpart to the PAIMI Act for individuals with
developmental disabilities. The DD Act provides that P&A systems have the authority to
access “all records of...any individual with a developmental disability.” 42 U.S.C. §
15043(a)(2)(1). Further, the definition of “record” within the DD Act, like the PAIMI
Act, includes “a report prepared or received by any staff at any location at which
services, supports, or other assistance is provided to individuals with developmental
disabilities” and “a report prepared by an agency or staff person charged with
investigating reports of incidents of abuse or neglect, injury, or death occurring at such
location, that describes such incidents and the steps taken to investigate such incidents|.]”
42 U.S.C. § 15043(c).

In this case, VOPA is conducting investigations into deaths and serious injuries at

facilities operated by the defendants as set forth in the Complaint. VOPA has requested
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records that are in the custody of defendants in conjunction with those investigations
pursuant to its authority under the PAIMI and DD Acts.
C. P&A Access to Peer Review Records

Five Federal Circuit Courts have held that the access authority of P&As extends
to peer review records. Indiana Protection & Advocacy Services v. Indiana Family &
Social Services Administration, 603 F.3d 365 (7" Cir. 2010), cert denied _ Us.
(2011); Missouri Protection & Advocacy v. Missouri Department of Mental Health, 447
F.3d 1021 (8th Cir. 2006); Protection & Advocacy for Persons with Disabilities, State of
Connecticut v, Mental Health and Addiction Services, 448 F.3d 119 (2nd Cir. 2006);
Center for Legal Advocacy v. Hammons, 323 F.3d 1262 (10" Cir. 2003); Pennsylvania
Protection & Advocacy, Inc. v. Houstoun, 228 F.3d 423 (3 Cir. 2000).

The Third Circuit Court of Appeals held that “a peer review report is a ‘record[]
of ...an [] individual’ under [PAIMI] and that the P&A “was entitled to have ‘access’ to
[peer review records].” Pennsylvania Protection & Advocacy, Inc. y. Houstoun, 228 F.3d
at 427. The Houstoun case involved the Pennsylvania P&A’s attempt to access peer
review records in order to investigate the suicide of a resident of a state-operated
psychiatric hospital. /d. at 425-426. The state denied the P&A access, claiming that the
records were protected under the state’s peer review statute. /d. at 426. The
Pennsylvania peer review statute provides that “[t]he proceedings and records of a review
committee shall be held in confidence and shall not be subject to discovery or
introduction into evidence in any civil action.” 63 Pa. Stat. § 425.4. The Houstoun court
ruled that peer review reports fell within the scope of records to which the P&A was

entitled access. 228 F.3d at 427. The court noted that the PAIMI Act authorizes P&As to
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access “all records of” an individual with mental illness and found that the plain language
of the definition of “records” “encompasses the peer review reports at issue here, since
they are clearly ‘reports prepared by . . . staff of a facility rendering care and treatment.’
Id. at 426, The court rejected assertions that: (1) only incident reports are covered by the
term “records” and that (2) in any case, the records cannot be disclosable because they
are the hospital’s property, and not the “records of any individual” (the phrase referenced
in the PAIMI Act’s access provisions). Jd. at 426-427.

The Houstoun court held that the PAIMI Act clearly preempts “any state law that
gives a healthcare facility the right to withhold” peer review reports. Jd. at 428.
However, the court concluded that there is no conflict between the state law in issue and
federal law because the P&A sought the peer review records as part of a statutorily
authorized investigation and not as a means of discovery or to introduce them in a civil
action. Jd. The Court also noted that the PAIMI Act requires that a P&A maintain the
confidentiality of such reports, which further supports the finding that disclosure to the
P&A is not prohibited by state law. Jd. at 428-429. The court observed that the state
statute does not say who is required to keep the report in confidence, and that the statute
has been interpreted as permitting release under certain circumstances. Jd. at 428,

The Second, Seventh, Eighth and Tenth Circuit decisions essentially follow the
reasoning of the Houstoun court, holding that the PAIMI Act preempts state peer review
laws because the PAIMI Act unambiguously gives P&A systems access to all records
related to an individual, including peer review records. Protection & Advocacy for
Persons with Disabilities v. Mental Health & Addiction Services, 448 F.3d 119, 125-126

(2d Cir. 2006); Indiana Protection and Advocacy Services v. Indiana Family and Social
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Services Administration, 603 F.3d 365, 382 (7" Cir. 2010), cert denied _ Us,
(2011), Missouri Protection and Advocacy Services v, Missouri Department of Mental
Health, 447 F.3d 1021, 1024 (3 Cir. 2006), Center for Legal Advocacy v. Hammons,
323 F.3d 1262, 1270 (10th Cir. 2003).

Records requested by VOPA in conjunction with its investigations of deaths and
serious injuries at defendants’ facilities include records that the defendants have
designated as peer review materials and have refused to produce.

D. Defendants are state officials acting in their official capacity

The defendants are state officials acting in official capacities and have a specific
connection to the alleged violation of federal law. The Commissioner, DBHDS, is
responsible for the supervision and management of the Department and its state facilities,
Code of Va. § 37.2-304. The other named defendants are directors of facilities operated
by DBHDS and are responsible for “the safe, efficient and effective operation” of the
facility and for compliance with “all applicable federal and state statutes, regulations,
policies and agreements.” Code of Va. § 37.2-707.

E. Ongoing violation of federal law

The undisputed facts demonstrate that the defendants are in violation of federal
law. VOPA has requested records to which it is entitled under federal law and the
defendants have refused to provide those records.

The regulations to the PAIMI and DD Acts which purport to exempt peer review
materials from protection and advocacy system access authority state that: “except that

nothing in this section is intended to preempt State law protecting records produced by

medical care evaluation or peer review committees.” 42 C.F.R. § 51.41(c)(4); 45 C.F.R.

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1386.22(c)(1). Federal law, however, provides that a protection and advocacy system
shall have access to “all...records of an individual.” 42 U.S.C. § 15043; 42 U.S.C. §
10805. All of the federal courts that have considered this issue have determined that the
regulations relied upon by defendants in the instant case are an unreasonable
interpretation of law. The decision in the Houstoun case is illustrative, where the
decision by then Judge Alito concluded that “[t]he interpretation of PAMII set out in 42
C.F.R. § 51.41(c)(4) does not represent a reasonable interpretation of the statute, and we
must therefore reject it.” Houstoun, 228 F.3d at 427, citing, Chevron, U.S.A., Inc. v.
Natural Resources Defense Council, Inc., 467 U.S. 837, 843-44 (1984); See also, Indiana
Protection and Advocacy Services v. Indiana Family and Social Services Administration,
603 F.3d 365 er Cir. 2010), certdenied = U.S.__—((2011); Missouri Protection &
Advocacy Services v. Missouri Dept. of Mental Health, 447 F.3d 1021, 1024 (8th Cir.
2006); Center For Legal Advocacy v. Hammons, 323 F.3d 1262, 1272 (10th Cir. 2003);
Disability Law Center of Alaska, Inc. v. North Star Behavioral Health, 2008 WL 853639
(D.Alaska March 27, 2008). In Protection & Advocacy for Persons with Disabilities,
State of CT v. Mental Health and Addiction Services, the Court of Appeals for the Second
Circuit considered the decision of the only court to decide otherwise, the Supreme Court
of New Hampshire, and found that the New Hampshire court did not consider whether
the regulation was a valid exercise of the federal agency’s rulemaking authority and
failed to engage in the analysis required by Chevron. 448 F.3d 119, 126 (2™ Cir. 2006).
The Second Circuit then held that, based upon the plain language of the PAIMI Act, the

state agency protection and advocacy system had the authority to access peer review

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records held by state facilities operated by the state’s mental health services agency. 448
F.3d at 128,

The reliance of defendants on the regulations in support of their contention that
there is no ongoing violation of federal law by the defendants is further undercut by the
very language of the statute which provides that

[i]f the laws of a State prohibit an eligible system from
obtaining access to the records of individuals with mental
illness in accordance with section 10805(a)(4) of this title
and this section, section 10805(a)(4) of this title and this
section shall not apply to such system before--

(i) the date such system is no longer subject to such a
prohibition; or

(ii) the expiration of the 2-year period beginning on May
23, 1986, whichever occurs first.

42 US.C. § 10806(b)(2)(C).

The Virginia law regarding peer review records prohibits disclosure only in the
limited circumstance of “legal discovery proceedings.” Code of Va. § 8.01-581.17B. The
statute also contains a provision for disclosure “for good cause arising from extraordinary
circumstances” and thus does not constitute an absolute prohibition. Jd. In any event, to
the extent that the state law regarding access to peer review materials conflicts with the
DD and PAIMI Acts it is preempted by federal law. Protection & Advocacy for Persons
with Disabilities, State of Connecticut v. Mental Health and Addiction Services, 448 F.3d
at 129; Missouri Protection & Advocacy v. Missouri Department of Mental Health, 447
F.3d 1021 (8th Cir. 2006); Center for Legal Advocacy v. Hammons, 323 F.3d at 1273;
Pennsylvania Protection & Advocacy, Inc, v. Houstoun, 228 F.3d at 428.

F. Sovereign immunity is not a bar to this action

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The Supreme Court held that “the Eleventh Amendment presents no obstacle to
VOPA’s ability to invoke federal jurisdiction on the same terms as any other litigant.”
Virginia Office for Protection and Advocacy v. Stewart, 131 S.Ct. 1632 (2011). VOPA,
therefore, may and does rely on the Ex parte Young exception to overcome any assertion
of sovereign immunity on the part of the defendants.

G. VOPA should be granted summary judgment and the declaratory relief it seeks

The undisputed facts of this case conclusively establish that defendants violated
VOPA’s right and duty to obtain peer review records in the course of investigating
allegations of neglect, as set forth in the PAIMI and DD Acts. Therefore, this Court
should grant VOPA’s Motion and enter final judgment granting VOPA the declaratory
relief it seeks: Declaratory Judgments, pursuant to 28 U.S.C. § 2201, holding that 42
C.F.R. § 51.41(c)(4) and 45 C.F.R. § 1386.22(c)(1) are invalid, that defendants violated
VOPA’s rights under the PAIMI and DD Acts, and setting forth VOPA’s right to access
the records sought in this action pursuant to the PAIMI and DD Acts. When, as here, the
plaintiff affirmatively alleges a violation of federal law, declaratory relief is appropriate if
there are no material facts in dispute. Columbia Gas Transmission Corporation v. Drain,
237 F.3d 366, 370 (4™ Cir. 2001). Doing so will vindicate federal law and make a clear
statement setting forth VOPA’s authority to conduct thorough investigations into these
and other allegations of the abuse and neglect of individuals with disabilities. In addition,
because VOPA is currently conducting investigations at facilities operated by defendants
and anticipates future investigations, a declaratory judgment will serve to guide the
parties in their future dealings, thereby reducing the probability of future litigation.

Shoney's Inc. v. Schoenbaum, 686 F.Supp. 554, 564 (E.D.Va. 1988), (“The purpose of a

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declaratory judgment is to avoid the accrual of damages which possibly could be avoided

by one who is not certain of the full nature of his rights.”).

There is a very real likelihood that the parties will again find themselves in a

dispute over VOPA’s access to peer review records. Therefore, this Court should enter a

Permanent Injunction requiring Defendants to provide VOPA, upon request, peer review

records relating to abuse and neglect investigations conducted by VOPA pursuant to its

authority under the DD and PAIMI Acts.

H. Conclusion

For the foregoing reasons, the plaintiff respectfully requests that this court grant

its motion for summary judgment and enter final judgment as follows:

lL.

Enter a Declaratory Judgment, pursuant to 28 U.S.C. § 2201,
holding that 42 C.F.R. § 51.41(c)(4) and 45 CFR. § 1386.22(c)(1)
are invalid, that defendant violated VOPA’s rights under the
Protection and Advocacy for Individuals with Mental IIIness
(PAIMI) Act, 42 U.S.C. 10801, et seg. and the Developmental
Disabilities Assistance and Bill of Rights (DD) Act, 42 U.S.C §
15001, et seq., and setting forth VOPA’s rights to request and
receive the peer review records sought in this action.

Enter a Permanent Injunction ordering defendants to provide
VOPA with peer review records requested by VOPA pursuant to its
federal access authority under the PAIMI and DD Acts.

Grant VOPA such other and further relief which to this Court
seems just and proper.

/s/
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CERTIFICATE OP SERVICE

I hereby certify that on July 28, 2011, I electronically filed the foregoing

Memorandum of Law in Support of Plaintiff's Motion for Summary Judgment with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

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